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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 ________________________________________
 CHARLES JOSEPH FREITAG, JR., as          :
 ADMINISTRATOR of the ESTATE OF           :
 CHARLES JOSEPH FREITAG, SR.,             :
                                          :
                         Plaintiff,       :
                                          :
                v.                        : No. 2:19-cv-05750
                                          :
 BUCKS COUNTY et al.                      :
                                          :
                         Defendants.      :
 ________________________________________ :

                                    JOINT STATUS REPORT

       As directed in the Court’s Order of August 10, 2022 (ECF 129), the parties submit the

following report regarding their settlement:

       Since the parties reached a settlement in principle, the parties have reached agreement on

written settlement release documents, and plaintiff has executed those documents. Plaintiff has

secured the assistance of estate counsel to ensure that the estate complies with all requirements

under state law including the payment of any outstanding liens and proper allocations of

settlement proceeds between the wrongful death and survival actions. Plaintiff anticipates filing

in this Court a petition for formal approval of the settlement within the next 30 days.

       Should plaintiff not be able to file a petition on or before October 3, 2022, the parties will

submit another status report to advise as to the anticipated timing for that filing.
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Respectfully submitted,



 /s/ Jonathan H. Feinberg              /s/ Jeffrey M. Scott
 Jonathan H. Feinberg                  Jeffrey M. Scott

 /s/ Grace Harris                      /s/ Kerri E. Chewning
 Grace Harris                          Kerri E. Chewning

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 Counsel for Plaintiff                 Counsel for Defendant Bucks County

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                                       John R. Ninosky

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                                       Camp Hill, PA 17011

                                       Counsel for Defendants PrimeCare,
                                       Mahoney, and Penge


DATE: September 8, 2022
